

People v Freeman (2022 NY Slip Op 00635)





People v Freeman


2022 NY Slip Op 00635


Decided on February 01, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 01, 2022

Before: Kern, J.P., Friedman, Singh, Scarpulla, Rodriguez, JJ. 


Ind No. 2795/17 Appeal No. 15185 Case No. 2019-1404 

[*1]The People of the State of New York, Respondent, 
vEugene Freeman, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Heidi A. Bota of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Amanda Katherine Regan of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Ann Scherzer, J.), rendered September 27, 2018,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 1, 2022
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








